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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

BIG OAK FARMS, INC., et al.,                     )
                                                 )
                        Plaintiffs,              )
                                                 )       Case No. 11-275-L
                        v.                       )
                                                 )
UNITED STATES OF AMERICA,                        )       Hon. Nancy B. Firestone
                                                 )
                        Defendant.               )
                                                 )

                        JOINT STATUS REPORT
                                AND
    JOINT MOTION TO STAY THE CLOSE OF FACT DISCOVERY RELATED TO
                     THRESHOLD LIABILITY ISSUES

        Pursuant to the Court’s July 17, 2020 Order on Motion to Amend Schedule (“Scheduling

Order”), the parties hereby submit this joint status report to provide an update on the progress of

discovery together with a recommendation of whether with additional discovery related to

valuation and potential compensation, both liability, valuation, and potential compensation issues

can be resolved at the first trial. As discussed below, the parties also jointly move to stay the

close of fact discovery related to threshold liability issues.

        In its Scheduling Order, the Court ordered the close of all fact discovery necessary for

resolution of the threshold liability issues by November 13, 2020. Fact discovery on the

threshold liability issues is now complete, with the exception of four depositions that the United

States timely noticed, but which have not yet been taken. The United States noticed the

depositions of four Plaintiffs who own, or are the designee, of the bellwether parcels. Those

depositions were scheduled to take place on November 5-6, 2020. However, prior to the

November 5-6 depositions taking place, the parties conferred, discussed potential resolution of




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this case, and mutually agreed to postpone the depositions pending the outcome of those

discussions.

       The parties’ settlement discussions are ongoing and continuing. The parties believe that,

subject to Plaintiffs’ counsels’ consultation with all of the individual plaintiffs, the parties have

outlined an initial, tentative agreement that will result in the complete resolution of the case.

       In light of the ongoing discussions, and to allow those discussions to continue, the parties

respectfully request that the Court stay the close of fact discovery related to the threshold

liability issues. In the event that the ongoing discussions do not lead to full resolution of this

case, the parties agree to proceed expeditiously with the four outstanding depositions. The

parties do not seek an extension of any of the additional deadlines contained in the Court’s

Scheduling Order.

       The parties further request that the Court order them to file a joint status report on

December 21, 2020, updating the Court on the status of their ongoing discussions or, if those

discussions have terminated, the status of the four outstanding depositions and of the parties’

discussions on whether additional discovery related to valuation and potential compensation,

both liability, valuation, and potential compensation issues can be resolved at the first trial.

Dated: November 18, 2020                               Respectfully submitted,

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